18-13374-mew            Doc 495        Filed 03/26/19 Entered 03/26/19 12:09:28                        Main Document
                                                     Pg 1 of 7


     Marc Kieselstein, P.C.                                         James H.M. Sprayregen, P.C.
     Cristine Pirro                                                 Adam C. Paul, P.C. (admitted pro hac vice)
     KIRKLAND & ELLIS LLP                                           W. Benjamin Winger (admitted pro hac vice)
     KIRKLAND & ELLIS INTERNATIONAL LLP                             KIRKLAND & ELLIS LLP
     601 Lexington Avenue                                           KIRKLAND & ELLIS INTERNATIONAL LLP
     New York, New York 10022                                       300 North LaSalle Street
     Telephone:     (212) 446-4800                                  Chicago, Illinois 60654
     Facsimile:     (212) 446-4900                                  Telephone:      (312) 862-2000
                                                                    Facsimile:      (312) 862-2200

     Counsel to the Debtors and Debtors in Possession

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
                                                                         )
     In re:                                                              ) Chapter 11
                                                                         )
     AEGEAN MARINE PETROLEUM NETWORK                                     ) Case No. 18-13374 (MEW)
     INC., et al.,1                                                      )
                                                                         )
                                Debtors.                                 ) (Jointly Administered)
                                                                         )

                    AMENDED2 AGENDA FOR HEARING TO BE HELD
                 MARCH 26, 2019, AT 2:00 P.M. (PREVAILING EASTERN TIME)

     Time and Date of Hearing: March 26, 2019, at 2:00 p.m. (prevailing Eastern Time)

     Location of Hearing:               The Honorable Judge Michael E. Wiles
                                        United States Bankruptcy Court for the Southern District of New York
                                        Alexander Hamilton Custom House
                                        One Bowling Green, Courtroom 617
                                        New York, New York 10004
     Copies of Motions:                 A copy of each pleading can be viewed on the Court’s website at
                                        http://www.nysb.uscourts.gov and the website of the Debtors’ notice
                                        and claims agent, Epiq Corporate Restructuring LLC, at
                                        http://dm.epiq11.com/aegean. Further information may be obtained via
                                        email at aegean@epiqglobal.com or by calling 212-225-9200.


 1
       Due to the large number of Debtors in these chapter 11 cases, a complete list of the Debtors and the last four digits
       of their tax identification, registration, or like numbers is not provided herein. A complete list of such information
       may be obtained on the website of the Debtors’ claims and noticing agent at http://dm.epiq11.com/aegean. The
       location of Debtor Aegean Bunkering (USA) LLC’s principal place of business and the Debtors’ service address
       in these chapter 11 cases is 52 Vanderbilt Avenue, Suite 1405, New York, New York 10017.

 2
       Amended items appear in bold.
18-13374-mew        Doc 495    Filed 03/26/19 Entered 03/26/19 12:09:28            Main Document
                                             Pg 2 of 7


 I.   Matters Going Forward

               1.      Chapter 11 Plan of Reorganization. Joint Plan of Reorganization of
                       Aegean Marine Petroleum Network Inc. and Its Debtor Affiliates Pursuant
                       to Chapter 11 of the Bankruptcy Code [Docket No. 482, Exhibit A].

                       Objection Deadline: March 19, 2019, at 4:00 p.m. (prevailing Eastern
                       Time).

                       Briefs in Support:

                       A.     Debtors’ Memorandum of Law in Support of Confirmation of the
                              Joint Plan of Reorganization of Aegean Marine Petroleum Network
                              Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy
                              Code and Omnibus Reply to Objections Thereto [Docket No. 476].

                       B.     Statement of the Official Committee of Unsecured Creditors of
                              Aegean Marine Petroleum Network Inc., et al. in Support of
                              Confirmation of the Plan and Joinder in Support of the Debtors’ Briefs
                              in Support of Confirmation [Docket No. 477].

                       C.     Debtors’ Memorandum of Law in Support of Nonconsensual Third
                              Party Release [Docket No. 478].

                       Responses Received:

                       A.     Limited Objection of the U.S. Securities and Exchange Commission
                              to Confirmation of the Debtors’ Joint Plan of Reorganization [Docket
                              No. 454].

                       B.     Plaintiff’s Reservation of Rights with Respect to Confirmation of
                              Joint Plan of Reorganization of Aegean Marine Petroleum Network
                              Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy
                              Code [Docket No. 455].

                       C.     Reservation of Rights of E. Nikolas Tavlarios with Respect to Revised
                              Joint Plan of Reorganization of Aegean Marine Petroleum Network,
                              Inc. and its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy
                              Code [Docket No. 458].

                       D.     Reservation of Rights of John Tavlarios with Respect to Revised Joint
                              Plan of Reorganization of Aegean Marine Petroleum Network, Inc.
                              and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy
                              Code [Docket No. 461].

                       E.     Reservation of Rights of Peter C. Georgiopoulos with Respect to
                              Revised Joint Plan of Reorganization of Aegean Marine Petroleum


                                                  2
18-13374-mew   Doc 495    Filed 03/26/19 Entered 03/26/19 12:09:28            Main Document
                                        Pg 3 of 7


                         Network, Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the
                         Bankruptcy Code [Docket No. 462].

                  F.     Objection of the United States Trustee to Confirmation of the
                         Amended Joint Chapter 11 Plan of Aegean Marine Petroleum
                         Network Inc. and Its Debtor Affiliates [Docket No. 463].

                  Related Documents:

                  A.     Disclosure Statement for the Joint Plan of Reorganization of Aegean
                         Marine Petroleum Network Inc. and Its Debtor Affiliates Pursuant to
                         Chapter 11 of the Bankruptcy Code [Docket No. 302].

                  B.     Joint Plan of Reorganization of Aegean Marine Petroleum Network
                         Inc. and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy
                         Code [Docket No. 303].

                  C.     Notice of Filing of Exhibits to the Disclosure Statement for the Joint
                         Plan of Reorganization of Aegean Marine Petroleum Network Inc.,
                         and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy
                         Code [Docket No. 316].

                  D.     Notice of Filing of Exhibit to the Disclosure Statement for the Joint
                         Plan of Reorganization of Aegean Marine Petroleum Network Inc.
                         and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy
                         Code [Docket No. 317].

                  E.     Notice of Filing of Revised Joint Plan of Reorganization of Aegean
                         Marine Petroleum Network Inc. and Its Debtor Affiliates Pursuant to
                         Chapter 11 of the Bankruptcy Code [Docket No. 360].

                  F.     Notice of Filing of Revised Disclosure Statement for the Joint Plan of
                         Reorganization of Aegean Marine Petroleum Network Inc. and Its
                         Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code
                         [Docket No. 362].

                  G.     Notice of Filing of Further Revised Joint Plan of Reorganization of
                         Aegean Marine Petroleum Network Inc. and Its Debtor Affiliates
                         Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 382].

                  H.     Notice of Filing of Further Revised Disclosure Statement for the Joint
                         Plan of Reorganization of Aegean Marine Petroleum Network Inc.
                         and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy
                         Code [Docket No. 383].

                  I.     Order (I) Approving the (A) Adequacy of Information in the
                         Disclosure Statement, (B) Solicitation and Notice Procedures,
                         (C) Forms of Ballots and Notices in Connection Therewith, and

                                             3
18-13374-mew   Doc 495    Filed 03/26/19 Entered 03/26/19 12:09:28           Main Document
                                        Pg 4 of 7


                         (D) Certain Dates with Respect Thereto, and (II) Granting Related
                         Relief [Docket No. 385].

                  J.     Notice of Hearing to Consider Confirmation of the Chapter 11 Plan
                         Filed by the Debtors and Related Voting and Objection Deadlines
                         [Docket No. 386].

                  K.     Notice of Filing of Plan Supplement [Docket No. 420].

                  L.     Affidavit of Service of Solicitation Materials [Docket No. 428].

                  M.     Notice of Filing Plan Supplement [Docket No. 441].

                  N.     Declaration of Jane Sullivan of Epiq Corporate Restructuring, LLC
                         Regarding Voting and Tabulation of Ballots Cast on the Joint Plan of
                         Reorganization of Aegean Marine Petroleum Network Inc. and Its
                         Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code
                         [Docket No. 470].

                  O.     Declaration of Tyler Baron in Support of Confirmation of the Joint
                         Plan of Reorganization of Aegean Marine Petroleum Network Inc.
                         and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy
                         Code [Docket No. 479].

                  P.     Declaration of Andrew Hede in Support of Confirmation of the Joint
                         Plan of Reorganization of Aegean Marine Petroleum Network Inc.
                         and Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy
                         Code [Docket No. 480].

                  Q.     Declaration of Zul Jamal in Support of Confirmation of the Joint Plan
                         of Reorganization of Aegean Marine Petroleum Network Inc. and Its
                         Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy Code
                         [Docket No. 481].

                  R.     Notice of Filing of Further Revised Joint Plan of Reorganization of
                         Aegean Marine Petroleum Network Inc. and Its Debtor Affiliates
                         Pursuant to Chapter 11 of the Bankruptcy Code [Docket No. 482].

                  S.     Notice of Filing of Proposed Findings of Fact, Conclusions of Law,
                         and Order Confirming the Joint Plan of Reorganization of Aegean
                         Marine Petroleum Network Inc. and Its Debtor Affiliates Pursuant to
                         Chapter 11 of the Bankruptcy Code [Docket No. 483].

                  T.     Notice of Filing of Amended Plan Supplement [Docket No. 492].

                  U.     Notice of Filing of Revised Proposed Findings of Fact,
                         Conclusions of Law, and Order Confirming the Joint Plan of
                         Reorganization of Aegean Marine Petroleum Network Inc. and

                                             4
18-13374-mew        Doc 495    Filed 03/26/19 Entered 03/26/19 12:09:28        Main Document
                                             Pg 5 of 7


                              Its Debtor Affiliates Pursuant to Chapter 11 of the Bankruptcy
                              Code [Docket No. 493].

                       Status: This matter is going forward.

               2.      Rejection Motion. Debtors’ Motion for Entry of an Order Authorizing
                       Rejection of Certain Unexpired Leases and Granting Related Relief [Docket
                       No. 412].

                       Objection Deadline: March 15, 2019, at 4:00 p.m. (prevailing Eastern
                       Time).

                       Responses Received: None.

                       Replies Filed: None.

                       Related Documents: None.

                       Status: This matter is going forward.

               3.      Substantial Contribution Application. Application of Oaktree Capital
                       Management, L.P. and Hartree Partners, LP Pursuant to
                       11 U.S.C. §§ 503(b)(3)(D) and 503(b)(4) for Allowance and Payment of
                       Professional Fees and Expenses Incurred in Making a Substantial
                       Contribution [Docket No. 421].

                       Objection Deadline: March 15, 2019, at 4:00 p.m. (prevailing Eastern
                       Time).

                       Responses Received:

                       A.     Objection of Mercuria US Asset Holdings, LLC to Application of
                              Oaktree Capital Management, L.P. and Hartree Partners, LP Pursuant
                              to 11 U.S.C. §§ 503(b)(3)(D) and 503(b)(4) for Allowance and
                              Payment of Professional Fees and Expenses Incurred Making a
                              Substantial Contribution [Docket No. 448].

                       B.     Statement of the Official Committee of Unsecured Creditors of
                              Aegean Marine Petroleum Network Inc., et al. in Support of
                              Application for Substantial Contribution Claim [Docket No. 449].

                       C.     Response of the United States Trustee to Application of Oaktree
                              Capital Management, L.P. and Hartree Partners, LP Pursuant To
                              11 U.S.C. §§ 503(b)(3)(D) and 503(b)(4) for Allowance and
                              Payment of Professional Fee and Expenses Incurred in Making a
                              Substantial Contribution [Docket No. 451].

                       Replies Filed:

                                                5
18-13374-mew        Doc 495    Filed 03/26/19 Entered 03/26/19 12:09:28        Main Document
                                             Pg 6 of 7


                       A.     Reply in Further Support of Application of Oaktree Capital
                              Management, L.P. and Hartree Partners, LP Pursuant to
                              11 U.S.C. §§ 503(b)(3)(D) and 503(b)(4) for Allowance and
                              Payment of Professional Fees and Expenses Incurred in Making a
                              Substantial Contribution [Docket No. 475].

                       Related Documents: None.

                       Status: This matter is going forward.

 II.   Withdrawn Matters

               4.      Limited Objection. Debtors’ Omnibus Limited Objection Solely to the
                       Voting Amount Associated with Certain Claims [Docket No. 434].

                       Objection Deadline: March 18, 2019, at 4:00 p.m. (prevailing Eastern
                       Time).

                       Responses Received: None.

                       Replies Filed: None.

                       Related Documents:

                       A.     Notice of Withdrawal of Debtors’ Omnibus Limited Objection Solely
                              to the Voting Amount Associated with Certain Claims [Docket No.
                              484].

                       Status: The objection has been withdrawn.




                            [Remainder of page intentionally left blank.]




                                                 6
18-13374-mew    Doc 495   Filed 03/26/19 Entered 03/26/19 12:09:28      Main Document
                                        Pg 7 of 7


 New York, New York                 /s/ Marc Kieselstein, P.C.
 Dated: March 26, 2019              Marc Kieselstein, P.C.
                                    Cristine Pirro
                                    KIRKLAND & ELLIS LLP
                                    KIRKLAND & ELLIS INTERNATIONAL LLP
                                    601 Lexington Avenue
                                    New York, New York 10022
                                    Telephone:     (212) 446-4800
                                    Facsimile:     (212) 446-4900
                                    - and -
                                    James H.M. Sprayregen, P.C.
                                    Adam C. Paul, P.C. (admitted pro hac vice)
                                    W. Benjamin Winger (admitted pro hac vice)
                                    KIRKLAND & ELLIS LLP
                                    KIRKLAND & ELLIS INTERNATIONAL LLP
                                    300 North LaSalle Street
                                    Chicago, Illinois 60654
                                    Telephone:     (312) 862-2000
                                    Facsimile:     (312) 862-2200

                                    Counsel to the Debtors and Debtors in Possession




                                         7
